 Case: 4:14-cv-01336-CEJ Doc. #: 45 Filed: 08/20/14 Page: 1 of 5 PageID #: 416
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                         IN THE UNITED STATES DISTRICT COURT
BY MAIL                 FOR THE EASTERN DISTRICT OF MISSOURI

    PATRICK RYAN BRAY,

           Plaintiff,
    v.                                           Case No. 4:14-cv-01336-CEJ

    BANK OF AMERICA

           Defendant.


                PLAINTIFF PATRICK RYAN BRAY'S MEMORANDUM
            IN SUPPORT OF HIS MOTION TO SUPPLEMENT COMPLAINT
              WITH EXHIBITS AS EVIDENCE TO SUPPORT HIS CLAIMS

           COMES NOW, Plaintiff Patrick Ryan Bray (pro se), hereby respectfully moves

    the Court to grant the Plaintiff's Motion to amend his complaint to include exhibits to

    support the claims filed in his original complaint. When the Plaintiff filed his complaint

    and responded to the Defendants Motion to Dismiss, he first asked the Defendant if they

    would be opposed to him providing documents to the Court to substantiate his claims, but

    was denied such ability, as the Defendant stated that by doing such would violate the

    confidentiality agreement he signed in the previous non-related FINRA hearing.

    Attached, as Exhibit A is that communication with the Defendant.

           Throughout the process, in the case before the Court now, discovery was open

    and had begun upon the direction of the Middle District of Florida, where the case was

    originally filed prior to the Defendants Change of Venue being granted to the Eastern

    District of Missouri.   During this brief, open discovery, the Defendant subpoenaed

    Merrill Lynch for the records that were used in the previous FINRA arbitration hearing.

    Merrill Lynch turned over such records and the Defendant has since turned them over to

    the Plaintiff outside of the previous confidentiality agreement.     For this reason the
Case: 4:14-cv-01336-CEJ Doc. #: 45 Filed: 08/20/14 Page: 2 of 5 PageID #: 417




    Plaintiff is now submitting a miniscule amount of documents that support his claims that

    he was originally denied from using at the time of his original filings. Though the

    Plaintiff was in possession of such documents at the time, he did not want to violate any

    confidentiality agreement that was being threatened to be enforced, had he used them as

    exhibits.

                                 DOCUMENTS TO SUPPORT
                                       COUNT I
                                     TYING CLAIM

           As the Court has most recently noted in the case of Halifax Center, LLC v. PB/

    Bank, Inc., 2014 WL 626753 (W.D. Ky. Feb 18, 2014) that to sustain a claim under the

    anti-tying provisions of the BHCA, a plaintiff must show that (1) the bank engaged in an

    anti-competitive tying arrangement, "i.e. that it conditioned the extension of credit upon

    "the borrowers obtaining ... additional credit, property or services ... from the bank or its

    holding company; (2) the arrangement was not usual or traditional in the banking

    industry; and (3) the practice conferred a benefit to the bank."

           The word requirement is key to this action as it is the most prohibitive word in

    the BHCA 12 U .S .C. 1972 legislation that the Plaintiff claims the Defendant violated.

    Most, if not all experts will state that it is such a prohibitive word that it is never

    expressed explicitly in any documentation but rather always stated implicitly. The

    plaintiff will satisfy the above mentioned ( 1) by introducing as evidence Exhibit B, the

    Third Amendment to the Credit agreement, whereby BANA clearly states in their

    contractual language that they are requiring the stated assets in this complaint be held at

    Bank of America I Merrill Lynch. Exhibit C is an electronic communication between the




                                                  2
Case: 4:14-cv-01336-CEJ Doc. #: 45 Filed: 08/20/14 Page: 3 of 5 PageID #: 418




    employees of the Defendant speaking to their requiring these assets to be held at Bank of

    America I Merrill Lynch.

            To satisfy the above mentioned (2) attached as Exhibit D is a page out of the

    Defendants own employee training material, specifically describing that conditioning the

    extension of credit on the client purchasing securities using a broker-dealer affiliate

    as a Prohibited Conduct. Exhibit E is an internal memo of the Defendant that clearly

    states traditional and non-traditional bank products and services, and which clearly states

    Broker/Dealer services are on the list of non-traditional bank products, again a clear

    violation of the Defendants own policies and the law.

           Although it is obvious that the Defendants requiring of 45 million of assets to be

    managed at the Defendants broker/dealer affiliate (Merrill Lynch) would be a clear

    benefit to the bank, the Plaintiff enters as Exhibit F an electronic communication of the

    Defendants employees wanting credit for their requirement of the stated assets in the

    form of a referral.

           The Plaintiff believes he has standing under the Sherman and Clayton Acts

    separate from the BHCA law as he believes he can also show an anticompetitive effect

    emanating from this tying arrangement as ( 1) the Defendant possesses market power over

    the tying product to force the purchase of the tied product and (2) because a substantial

    volume of commerce is foreclosed thereby the Defendant's actions. However under the

    BHCA the Plaintiff is not obligated to prove anti-competitive effects or appreciable

    market share in the market for the tied service or products but instead just an anti-

    competitive practice.

           Lastly, for the Defendant to construe to the Court that when Congress enacted the




                                                3
Case: 4:14-cv-01336-CEJ Doc. #: 45 Filed: 08/20/14 Page: 4 of 5 PageID #: 419




    BHCA law with the language "any person" that it was not Congresses intent to be

    construed to mean a direct competitor, such as the Plaintiff, is a reach, and trying to get

    the Court to canonize the verbiage by sanctioning by ecclesiastical authority is an

    overreach to say the least. The laws verbiage has remained unchanged for over forty

    years and was left unchanged in the recent Dodd Frank act. Anti-Tying claims are

    extremely rare as most are done verbally and not in writing which makes it extremely

    hard to prove. In this case it is easily proven that both occurred.

           As to the remaining Counts, the Plaintiff has an equally numerous amount of

    documents to defend his allegations in full and believes an abundance of other documents

    not in his possession will be uncovered through discovery to support his claims.

                                          CONCLUSION

           The Defendant wants to continually state and portray to the Court that this action,

    brought by the Plaintiff in his complaint, is a settled matter that has been litigated in a

    prior FINRA arbitration hearing.      The Defendant, who was the perpetrator of these

    actions brought against them by the Plaintiff, here before the Court now, is a non-FINRA

    member and therefore could not be held liable by FINRA for their actions.

           This "Svengali" between the Defendant and their affiliate Merrill Lynch made it

    virtually impossible for the Plaintiff to prove his case in the FINRA arbitration, as

    although they colluded with one another, the majority of the wrong doings from a legal

    stand point were done by BANA, whom which FINRA could not hold accountable for

    their actions because they had no legal authority, as a Self-Regulated Organization

    (SRO), to hold a non-member accountable.

           Due to contract, the Plaintiff was obligated to first, go through the arbitration




                                                  4
Case: 4:14-cv-01336-CEJ Doc. #: 45 Filed: 08/20/14 Page: 5 of 5 PageID #: 420




    process and attempt to bring the two parties together as one in their wrongdoings but

    ultimately failed because of the reasons stated above and not because the FINRA

    arbitration held BANA harmless. If that were the case, FINRA would have granted the

   Defendants Counsel's motion to dismiss, with prejudice, that they requested, but instead

    were denied such request.

            The Plaintiff has conferred with the Defendant regarding the filing of this motion

    and the Defendant has stated that they are opposed to its filing. Attached as Exhibit Gare

   the communications regarding this topic.


    Dated: August 14, 2014                                       By: /s/ Patrick Ryan Bray
                                                                 Patrick Ryan Bray (prose)
                                                                 4007 Riverview Blvd
                                                                 Bradenton, FL 34209
                                                                 Telephone: (941) 812-9007
                                                                 Email: pryanbray@msn.com



                                   CERTIFICATE OF SERVICE

            I, Patrick Ryan Bray (pro se), hereby certify that a true and correct copy of the

    forgoing Memorandum in Support of the Plaintiff's Motion to Supplement Complaint

    with Exhibits as Evidence to Support his Claims, were served via electronic

    communication as follows to Scott Dickenson at         sdicks:11-~on£il!lathropgag£.co111   and

    Janelle Fulton at .ifl1lt()11@ruJ2i11fm1tu1mo,<,:9m.

    Dated: August 14, 2014
                                                                 By: /s/ Patrick Ryan Bray
                                                                 Patrick Ryan Bray (pro se)
                                                                 4007 Riverview Blvd
                                                                 Bradenton, FL 34209
                                                                 Telephone: (941 )812-9007
                                                                 Email: pryanbray@msn.com




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